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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                CRIMINAL ACTION

VERSUS                                                  NO. 98-57

TERRANCE WILLIAMS                                       SECTION B


                                ORDER AND REASONS

      Before the Court is Petitioner Terrance Williams’s Motion to

Alter or Amend Judgment (Rec. Doc. No. 341).             For the reasons

that follow, IT IS ORDERED that Petitioner’s Motion is DENIED.1

      The Court should refrain from altering or amending a ruling

or judgment under Rule 59(e) of the Federal Rules of Civil

Procedure unless one of the following grounds is present: (1) the

judgment is based upon manifest errors of law or fact; (2) the

existence of newly discovered or previously unavailable evidence;

or (3) an intervening change in controlling law has occurred.

See   Schiller v. Physicians Res. Group, Inc., 342 F.3d 563, 567

(5th Cir. 2003); 11 WRIGHT, MILLER & KANE, FEDERAL PRACTICE & PROCEDURE:

CIVIL 2d § 2810.1, p. 125-27 (1995) ("Wright & Miller").               "A Rule

59(e) motion should not be used to relitigate prior matters that

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      The Court notes a potential timeliness issue with
Petitioner’s filing. However, given Petitioner’s delay in
receiving this Court’s ruling, Petitioner’s Motion is deemed
timely filed.

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should have been urged earlier or that simply have been resolved

to the movant's dissatisfaction." In re Self, 172 F. Supp. 2d

813, 816 (W.D. La. 2001); see also Clay v. Daichi Shipping, 2000

WL 6269, at *1 (E.D. La. Jan. 5, 2000); WRIGHT & MILLER, § 2810.1

at 127-28.   Further, recycled arguments - previously rejected by

the court – serve only to waste judicial resources.              See Self,

172 F. Supp. 2d at 816; Louisiana v. Sprint Commc’ns, Co., 899 F.

Supp. 282, 284 (M.D. La. 1995).

     Altering, amending, or reconsidering a judgment is an

extraordinary measure, which courts should use sparingly.               S.

Constructors Group, Inc. v. Dynalectric Co., 2 F.3d 606, 611 (5th

Cir. 1993)(noting that the standards applicable to Rule 59(e)

favor the denial of motions to alter or amend a judgment); see

also 11 CHARLES A. WRIGHT, ARTHUR R. MILLER & MARY KAY KANE, FEDERAL

PRACTICE & PROCEDURE: CIVIL 2d § 2810.1, p. 124 (1995).         Accordingly,

rulings should only be reconsidered "where the moving party has

presented substantial reasons for consideration." Baustian v.

Louisiana, 929 F. Supp. 980, 981 (E.D. La. 1996).              The Court must

balance between two competing interests: the desire to achieve

and maintain a final judgment and the desire to reach a just

decision based upon the evidence.        The Freeman court instructed

the Court to consider the following in striking the balance "the

reasons for the moving party's default, the importance of the

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omitted evidence to the moving party's case, whether the evidence

was available to the non-movant before she responded to the

summary judgment motion, and the likelihood that the nonmoving

party will suffer unfair prejudice if the case is reopened."

Freeman v. County of Bexar, 142 F.3d 848, 853 (5th Cir. 1998)

     Petitioner’s arguments do not satisfy the criteria imposed

by the Fifth Circuit to justify the granting of Rule 59(e)

relief.   Petitioner fails to show that the Court must correct a

manifest error of law or fact, that he has newly discovered or

previously unavailable evidence,2 or that an intervening change

in controlling law has occurred since the time of the ruling; he

merely restates the arguments considered by this Court in its

previous ruling.    Finding that Petitioner has not provided the

Court any basis for altering its ruling or judgment,

     IT IS ORDERED that the Motion is DENIED.



     New Orleans, Louisiana, this 4th day of April, 2006.




                                        ____________________________
                                        UNITED STATES DISTRICT JUDGE



     2
      The Court notes Petitioner included excerpts of court
documents not contained in his previous filing. Petitioner uses
these excerpts to support rehashed arguments from his previous
filing. Petitioner does not contend this is newly discovered or
previously unavailable evidence.

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